                                                                                  1
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 1 of 75   PageID 4528




  1                      IN THE UNITED STATES DISTRICT COURT
  2                       FOR THE NORTHERN DISTRICT OF TEXAS

  3                               FORT WORTH DIVISION

  4    OUTSOURCING FACILITIES                )       CASE NO. 4:24-CV-00953-P
       ASSOCIATION, ET AL                    )
  5                                          )
                                             )       FORT WORTH, TEXAS
  6    vs.                                   )
                                             )       APRIL 24, 2025
  7    UNITED STATES FOOD AND DRUG           )
       ADMINISTRATION, ET AL                 )       1:50 P.M.
  8

  9                                     VOLUME 1
                       TRANSCRIPT OF MOTION FOR SUMMARY JUDGMENT
 10                      BEFORE THE HONORABLE MARK T. PITTMAN
                          UNITED STATES DISTRICT COURT JUDGE
 11

 12    A P P E A R A N C E S:
 13    FOR THE PLAINTIFF:              ANDREW MICHAEL GROSSMAN
                                       BakerHostetler, LLP
 14                                    1050 Connecticut Avenue NW
                                       Suite 1100
 15                                    Washington, DC 20036
                                       Telephone: 202.861.1697
 16
                                       TYLER GEOFFREY DOYLE
 17                                    BakerHostetler, LLP
                                       811 Main Street
 18                                    Suite 1100
                                       Houston, Texas 77002
 19                                    Telephone: 713.646.1374

 20
 21    FOR THE DEFENDANT:              OLIVER MCDONALD
       U.S. Food and Drug              Consumer Protection Branch
 22    Administration                  450 Fifth Street NW
                                       Room 6400-South
 23                                    Washington, DC 20530
                                       Telephone: 202.305.0168
 24

 25
                                                                                 2
Case 4:24-cv-00953-P   Document 152    Filed 05/01/25   Page 2 of 75   PageID 4529




  1
                                      JULIA LOVAS
  2                                   Office of Chief Counsel
                                      10903 New Hampshire Avenue
  3                                   White Oak 31
                                      Silver Spring, Maryland 20993
  4
  5
       FOR THE INTERVENOR:            ERIN E. MURPHY
  6    Eli Lilly                      Clement & Murphy, PLLC
                                      706 Duke Street
  7                                   Alexandria, Virginia 22314
                                      Telephone: 202.742.8900
  8
                                      JAMES R P HILEMAN
  9                                   Kirkland & Ellis, LLP
                                      300 N. LaSalle Street
 10                                   Chicago, Illinois 60654
                                      Telephone: 312.862.7090
 11
                                      IAN BRINTON HATCH
 12                                   Kirkland & Ellis
                                      1601 Elm Street
 13                                   Suite 2700
                                      Dallas, Texas 75201
 14                                   Telephone: 214.972.1781

 15
 16    COURT REPORTER:                MONICA WILLENBURG GUZMAN, CSR, RPR
                                      501 W. 10th Street, Room 310
 17                                   Fort Worth, Texas 76102
                                      Telephone: 817.850.6681
 18                                   E-Mail: mguzman.csr@yahoo.com
 19

 20    Proceedings reported by mechanical stenography, transcript
       produced by computer.
 21

 22

 23
 24

 25
                                                                                3
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 3 of 75   PageID 4530




  1                                      INDEX
  2                                                          PAGE     VOL.

  3    Appearances .................................4                 1

  4
  5    By Mr. Grossman .............................5                 1

  6

  7    By Mr. McDonald ............................36                 1
  8

  9    By Ms. Murphy ..............................56                 1
 10

 11    By Mr. Grossman ............................69                 1

 12
 13    Court's Ruling Withheld ....................72                 1

 14

 15    Proceedings Adjourned ......................74                 1
 16

 17    Reporter's Certificate .....................75                 1

 18
 19

 20
 21

 22

 23
 24

 25
                                                                                4
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 4 of 75   PageID 4531




  1                             P R O C E E D I N G S
  2                         (April 24, 2025, 1:50 p.m.)

  3                THE COURT:     We're here on the matter of Outsourcing

  4    Facilities Association, et al vs. the FDA.            We have an
  5    intervenor party that's been added, Eli Lilly.             We're here on

  6    parties' motions for summary judgment.

  7                And I would like to begin by asking the counsel for
  8    plaintiffs to introduce themselves for the record.

  9                MR. DOYLE:    Thank you and good afternoon, Your
 10    Honor.    Ty Doyle of BakerHostetler for plaintiffs, alongside

 11    my partner, Andrew Grossman.

 12                THE COURT:     Okay.    And, Mr. Grossman, are you going
 13    to be handling most of the argument?

 14                MR. GROSSMAN:      Yes, Your Honor.

 15                THE COURT:     I'm assuming this is your area of
 16    expertise.

 17                MR. GROSSMAN:      In general, yes, Your Honor.

 18                THE COURT:     Okay.    And who do I have for the FDA?
 19                MR. MCDONALD:      Your Honor, my name is Oliver

 20    McDonald from the Department of Justice for Federal
 21    defendants.

 22                THE COURT:     Okay.

 23                MR. MCDONALD:      With me at counsel table is Julie
 24    Lovas, from the Food and Drug Administration's Office of Chief

 25    Counsel.
                                                                                5
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 5 of 75   PageID 4532




  1                THE COURT:     All right.
  2                And who do I have for Eli Lilly?

  3                MR. HATCH:    For Eli Lilly, it's Ian Hatch and James

  4    Hileman from Kirkland & Ellis, and we have Erin Murphy from
  5    Clement & Murphy as well.

  6                THE COURT:     Okay.    Who -- who will be doing the

  7    argument or most of the argument for your side, Mr. Hatch?
  8                MR. HATCH:    Erin Murphy will be, Your Honor.

  9                THE COURT:     All right.
 10                I do have some questions, but I want you-all to be

 11    able to make your presentation, so I'll try not to interrupt.

 12    And I think it's best if we hear from counsel for the
 13    plaintiff.      And as I said, I'll be generous with my time, so

 14    don't worry about going over.         We have some time that's been

 15    given back to us.
 16                Mr. Grossman, I look forward to hearing from you.

 17                MR. GROSSMAN:      Thank you, Your Honor.

 18                Good afternoon.     Thank you for taking the time to
 19    hold the hearing today.

 20                Tirzepatide went into shortage because of surging
 21    demand for the drug.      And the theory for the FDA's action

 22    removing Tirzepatide from the shortage list, is that Eli Lilly

 23    increased its manufacturing capacity and caught up with the
 24    demand.    But even Lilly's own presentation of data showed that

 25    the race was neck and neck, with supply
                                                                                 6
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 6 of 75    PageID 4533




  1                                                                       .   That
  2    should have led the FDA to take a hard look at Lilly's

  3    presentation and decide whether the evidence satisfied the

  4    agency's standard for ending a shortage.
  5                But that's not what the FDA did.          Rather than reason

  6    through the problem and apply its own standard, it deferred to

  7    Lilly's presentation and Lilly's choices across the board.
  8                Why did the FDA analyze a                            of supply

  9    and demand data?      Because that was the data that Lilly
 10    happened to submit to the agency.

 11                Why did the FDA rely on supply numbers that,

 12    according to Lilly, don't reflect the actual supply available
 13    to fulfill customer demands?        Because those were the numbers

 14    that Lilly gave to the agency.

 15                Why did the FDA determine that Lilly could
 16

 17

 18    Because Lilly said, without any support, that it could do so.
 19                FDA's across-the-board deference to Lilly's choices

 20    require vac- -- vacatur of its delisting action for two
 21    reasons that I'd like to address this afternoon.               The first is

 22    a lack of reasoned explanation for the agency's choices and

 23    its methodology.      And the second is a lack of substantial
 24    evidence supporting the agency's determination.                And if time

 25    allows, which it may well do so now, I'd like to also make a
                                                                                 7
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 7 of 75    PageID 4534




  1    few points regarding the notice and comment argument as well.
  2                Beginning with the lack of reasoned explanation

  3    point, the agency's delisting action, the decision that it

  4    issued, doesn't apply any apparent methodology.                The decision
  5    announces, up top, right on page 1, that the inquiry before

  6    the agency under the statute is whether demand exceeds supply

  7    over a particular period of time.          That's on page 1; it's on
  8    page 3, when the agency begins its analysis.

  9                So what you would expect to see in the decision, is
 10    that the agency would identify a period of time, and that it

 11    would make findings for supply and demand over that period of

 12    time.    Needless to say, the decision does not carry out that
 13    methodology.     Instead, what it does is it proceeds to recite

 14    each category of data from Eli -- that Eli Lilly has given it,

 15    and then it states that the data, and I quote, "supports our
 16    conclusion."

 17                So what metric or criteria is the decision actually

 18    applying in this analysis?        The decision never actually says,
 19    and it certainly isn't obvious on the face of the decision.

 20    It's effectively applying an I-know-it-when-I-see-it type of
 21    standard, but that's not a valid methodology.

 22                It's black letter law in the administrative law

 23    context, as the Court is well aware, that an agency has to
 24    have some type of concrete methodology so that the Court can

 25    assess whether that complies with the statute, whether the
                                                                                 8
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 8 of 75   PageID 4535




  1    agency has carried it out, and whether the evidence actually
  2    supports the agency's ultimate decision.            Without that, an

  3    agency's action is inherently arbitrary.            And so that alone

  4    requires vacatur.
  5                But the FDA's specific choices here raise even more

  6    questions that the decision doesn't even attempt to answer.

  7                THE COURT:      Is it fair to say, you contend that the
  8    FDA, essentially, picked and chose what type of data it wanted

  9    to relate to to get to the ultimate answer?             Is that a fair
 10    way to -- they got to the answer that they wanted by

 11    cherry-picking the data; is that a good way to describe your

 12    argument?
 13                MR. GROSSMAN:       No, Your Honor.       I don't think that's

 14    quite right.

 15                THE COURT:      Okay.
 16                MR. GROSSMAN:       Our argument is that Eli Lilly picked

 17    and chose the data that it wanted to present to the agency,

 18    and then the agency said, Yeah, that looks good enough to us.
 19    In other words, the agency didn't say, Here's the standard

 20    that we're applying and does the evidence support that
 21    standard?       In other words, the agency --

 22                THE COURT:      And you're correct, that's what I meant

 23    to say.    You said it much more artfully than I did.
 24                Go ahead.

 25                MR. GROSSMAN:       So, let's begin just with the simple
                                                                                9
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 9 of 75   PageID 4536




  1    issue of a period of time.         The Court, in its preliminary
  2    injunction decision, and now FDA and Lilly, say that the

  3    agency analyzed supply and demand over the

  4                                                        , even though that
  5    only covers one of the sets of data on which the decision

  6    relies.

  7                First of all, the agency made no finding of demand
  8    over that period of time, that                           , or really over

  9    any period of time.        The agency made no finding of supply over
 10    the                    .   Instead, the decision finds

 11                                                    , even though the

 12    defendants can't point to any record evidence that supports
 13    that figure.     But put all of that aside for the moment.

 14                Why use a                       of analysis to begin with

 15    to assess whether a drug is currently in shortage?              There is
 16    not a single word of explanation in the entirety of the

 17    decision to justify that choice.          It certainly isn't obvious.

 18    The                            is not in the statute or a
 19    regulation.     FDA and Lilly can't point to any other process,

 20    any business practice, or anything of the sort that typically
 21    employs a                      .

 22                There's no explanation by the agency as to how

 23    diluting current data with stale data from                       , is
 24    somehow consistent with undertaking an up-to-date

 25    determination of shortage status.          There's also no
                                                                                   10
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 10 of 75   PageID 4537




   1    consideration of obvious alternatives:             Month to month,
   2    bimonthly, quarterly, six months.             We're not just making up

   3    these potential alternatives, other sets of data that are in

   4    the decision are framed in those formats.              So, those were
   5    things that were already before the agency, and the agency

   6    just didn't consider.          If it did, in fact, choose the

   7            of consideration, it didn't address those alternatives.
   8                   And I want to be clear, that this is not a minor

   9    detail of the decision.          The choice of time period dictated
  10    the outcome.      If you run the same methodology that the

  11    decision employed, in other words, looking at this aggregate

  12    supply-and-demand data, and that's at least a part of the
  13    decision, if you apply that methodology over a more up-to-date

  14    time period, like month to month, two months, a quarter, or

  15    even the most recent six months, the results come out
  16    negative.

  17                   And so --

  18                   THE COURT:   I know that one of the big things you
  19    focus on is you fault the FDA for not considering Eli Lilly's

  20    delays in shipping as an indicator that the shortage was
  21    continuing -- I'm sorry I'm not speaking into the

  22    microphone -- and you also criticize the time period.

  23                   Is there -- tell me a better alternative.            What
  24    would be a more reasonable alternative to the time period they

  25    used?   And the reason why I ask that, contrary to what you may
                                                                                   11
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25     Page 11 of 75   PageID 4538




   1    read about me or any other judge in the newspaper, I really --
   2    when it comes to the Federal judge who was a political science

   3    major from a state university going and telling the FDA maybe

   4    they didn't do their methodology correctly, to quote our late
   5    Pope, Who am I to judge?

   6                   What -- what's your alternative?         It's easy to

   7    criticize.      It's easy to be in my position, and say, Well, the
   8    time period they used was arbitrary and capricious.                 But what

   9    would have been a proper, reasonable time period to consider
  10    in this case?      Do you have an alternative?

  11                   MR. GROSSMAN:    So, if I could, Your Honor, I would

  12    give you two answers to that question.              The first is simply
  13    that the agency has to justify its choice.              And I agree with

  14    you that it's not the role of the Court certainly to supplant

  15    the agency's exercise of discretion.
  16                   The Court's role is simply to determine whether the

  17    agency properly exercised its discretion.              And for the Court

  18    to undertake that inquiry, it has to rely on the explanation
  19    provided by the agency; and in this instance, there is none.

  20    So, that's kind of the problem here.
  21                   Maybe the agency could justify a                          ,

  22    maybe it couldn't, who knows.         But the problem is, is that the

  23    agency didn't even try to do that.              That said, we think that
  24    the                     is, at a minimum, intentioned with, if not

  25    in violation of, the statute.
                                                                                   12
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 12 of 75   PageID 4539




   1                   As the Court's well aware, the statute requires an
   2    up-to-date determination.          If you give equal weight to data

   3    that is                        , as you are giving to the absolute

   4    most current supply-and-demand data, that necessarily dilutes
   5    the effects of the more recent data.              And so, the farther back

   6    that period goes, the less up to date the decision is actually

   7    going to be.      So, there may well be a statutory violation
   8    here.   But, again, the agency never explained how it was to

   9    reconcile its apparent choice, as the Court indicated, of a
  10                        with the statutory requirements of an

  11    up-to-date determination.

  12                   So, it's not our place to say, Here's exactly what
  13    the agency should have done.           We think there are some obvious

  14    alternatives it had to consider; as I said, month to month,

  15    bimonthly, quarterly, maybe six months.              Those are sort of
  16    obvious.       Other data is in those formats.         A reasonable agency

  17    would look at those and say, Maybe that's better, maybe that's

  18    worse, let's work through it and come to a reasonable answer.
  19                   THE COURT:   And at the same time, it's not the

  20    Court's job, if I grant your summary judgment, to say, A
  21    better alternative would have been X, quarterly or whatever.

  22                   MR. GROSSMAN:      That's correct, Your Honor.

  23                   Well, except I would say, that there is at least --
  24    so, again, I apologize, in blurrily fashion, for giving two

  25    answers, but they're different --
                                                                                   13
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 13 of 75    PageID 4540




   1                   THE COURT:    No, that's fine.
   2                   MR. GROSSMAN:     But they're different theories.

   3                   THE COURT:    Yeah.

   4                   MR. GROSSMAN:     So, it would be enough for the Court
   5    to say that the agency's choice of a time period is simply

   6    unreasoned.      And it would be enough for the Court -- that

   7    would be enough for the Court to vacate and say, You have to
   8    provide some type of explanation, if you can explain this

   9    choice.
  10                   If the Court wanted to reach the statutory issue,

  11    again, we think there's a real problem with choosing a

  12                                that looks back so far.       And so the Court
  13    could also say, That, at least as the agency has failed to

  14    explain it on this record, that it is -- that it is in

  15    violation of the statute for the agency to choose that time
  16    period.

  17                   But I want to stress, in that instance the Court

  18    would not be in a position to supplant the agency's discretion
  19    and say, Here's the time period you have to use.                 It would be

  20    just be enough to say, The one that you selected does not
  21    comport with the statute.

  22                   So, as I said, this is not a minor detail.            This

  23    choice of time period actually drives the outcome, at least
  24    with respect to the supply-and-demand data.              But, again, I

  25    think there's a problem with that data.             The agency relied on
                                                                                    14
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 14 of 75     PageID 4541




   1
   2                                   But Lilly conceded on the record, as

   3    well as in its briefing, those figures

   4
   5

   6                   So, when Lilly, in its briefing, talks about a

   7                                                                     and things
   8    like that, its submissions to the agency, as well as its

   9    briefing, admit that, no,
  10                               They don't correspond with any

  11    real-world fact.

  12                   So the question here, in other words, is, Why use a
  13    statistic to represent supply that doesn't match the ordinary

  14    meaning of that word or the purpose of the statutory inquiry?

  15    Maybe the agency has some kind of answer for that, but it's
  16    not on the record, it is not in the decision.              The agency had

  17    to explain that.

  18
  19

  20
  21                              Again, there's no explanation to justify

  22    that choice.

  23
  24                                                         Again, there's no

  25    explanation.
                                                                                  15
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 15 of 75   PageID 4542




   1                   And why accept Lilly's unsupported assertion of
   2    being able to supply                                       , which is

   3                                                      , according to its own

   4    data, in any month?         Again, there's no explanation whatsoever.
   5                   Now, FDA, in its briefing, emphasizes its discretion

   6    in addressing shortages.         In other words, it gets to make

   7    policy with respect to shortages.
   8                   THE COURT:    Let me ask you on the

   9    Because I think the FDA counsel is going to come and say,
  10    Mr. Grossman is wrong, that was not totally the FDA relying on

  11    Eli Lilly data, rather that was the FDI -- I'm so sorry -- the

  12    FDA taking the projected data given them by Eli Lilly and they
  13    came up with the                  .

  14                   MR. GROSSMAN:     That's not correct, Your Honor.

  15                   The actual                was in response to a question
  16    provided by the FDA.         And the letter response from Lilly, from

  17    which that number is drawn, stated that Lilly is

  18
  19                       , and that that would -- that number was going

  20    to be explained later in the letter; which, in fact, it never
  21    is explained.      And so, there's actually nothing in the record

  22    that supports that.

  23                   The evidence that is in the record is Lilly's
  24    actual -- at least Lilly's reported                              supply,

  25    none of which actually come close to                        --
                                                                                  16
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 16 of 75   PageID 4543




   1                   THE COURT:   I think that's a very important
   2    argument.      I hope my defense counsel, particularly FDA

   3    counsel, addresses that.

   4                   Go ahead, sir.
   5                   MR. GROSSMAN:     And I will note, in addition, in its

   6    briefing, the only thing that the FDA is able to say about

   7    that, is that it considered Lilly's representation of that to
   8    be "credible."

   9                   THE COURT:   And why isn't -- why do you feel it's
  10    unreasonable for them to be able to rely on the

  11    representations of Eli Lilly with regards to the -- for

  12    example, the                         ?
  13                   MR. GROSSMAN:     Well, first of all -- I mean, for

  14    something that is such a key factor in the inquiry, that's

  15    something where evidence is actually needed, rather than
  16    simply the assertion of a self-interested party.

  17                   Second, that number conflicts, because it is

  18
  19

  20                                                                     .
  21                   And then -- and then third, Lilly's projections,

  22    Lilly has one projection for                              that is

  23    substantial -- that is                                   , I believe it's
  24                      , or thereabouts.       But then every other supply

  25    projection,
                                                                                   17
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 17 of 75   PageID 4544




   1
   2                   So, I think it would be enough to say that it's not

   3    credible.      Because if the agency simply looked at Lilly's

   4    other submissions, it would, at a minimum, raise questions
   5    about how this comports with what the -- with what Lilly has

   6    actually done to date, as well as what Lilly projects going

   7    into the future.
   8                   But I think the bottom-line point here is that in

   9    all of these choices, or lack of choices, the agency was
  10    exercising its discretion.          And we don't disagree with the

  11    agency that it has discretion here, it gets to make policy

  12    with respect to shortages, it gets to make a shortage policy.
  13    But when an agency is making policy in this fashion and it's

  14    exercising its discretion, it has to explain how and why it

  15    exercised its discretion; and the FDA failed to do that at
  16    every turn.

  17                   So, I'd like to move on to addressing some of the

  18    record evidence here.          First, Lilly's data, and then second,
  19    some of the data that was supplied by other parties.                 As I've

  20    described, Lilly's supply-and-demand data, this cumulative
  21    data that was supplied to the agency is not up to date, but

  22    it's stale.      Any reasonably up-to-date listing, or any

  23    reasonably up-to-date tally that uses the last six months, or
  24    any period shorter than that, would show demand outpacing

  25    supply.    In other words, what the FDA has defined as a
                                                                                   18
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 18 of 75     PageID 4545




   1    shortage.
   2                   There is, as I described, no record evidence

   3    supporting FDA's finding of a

   4                        .   Lilly admits in its briefing it never has
   5    manufactured that much.        And the FDA's point is, Well, it

   6    deems that to be credible.        The FDA -- I'm sorry, the APA

   7    requires substantial evidence.          Here, there is literally
   8    nothing.

   9                   But I want to emphasize to the Court why that figure
  10    actually matters.       Lilly's demand projections -- if you look

  11    at its

  12                                                                      .   And
  13    that's without even considering the demand that was being

  14    currently satisfied at that point by compounded products.

  15                   FDA's rationale for its conclusion that compounded
  16    supply ultimately didn't matter in the analysis, was that

  17    Lilly could                                                                 ,

  18    which it said was enough to meet any potential supply that
  19    would transition from compounded products to Lilly's products.

  20    But, as I said, there's simply no support for that -- for that
  21    underlying -- for that                                          figure in --

  22    in the record evidence.

  23                   Then there are Lilly's inventory snapshots.            The
  24    problem here is that they measure supply, not demand.                 I want

  25    to make clear, they do net out orders that were open at the
                                                                                 19
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 19 of 75   PageID 4546




   1    precise moments that the snapshots were taken, but they aren't
   2    paired up with any commensurate measure of demand.

   3                   And Lilly admits in its briefing, as well as on the

   4    record,
   5

   6                                            at a time.    And that's likely

   7    why, if you go through the record,
   8

   9
  10                   Lilly's shipment data shows a

  11                                                    -- again, Lilly

  12    reported demand -- in                                      a
  13               .    The FDA's briefing -- and this is FDA's opposition

  14    brief -- says, Well, who knows, it's possible that those data

  15    sets might cover different time periods.            Lilly's opposition
  16    brief, and this is page 17 of that brief,

  17

  18                   THE COURT:   Let me ask --
  19                      (Court Reporter interrupts)

  20                   MR. GROSSMAN:    I apologize, page 17.
  21                   THE COURT:   And I interrupted, I apologize, too.

  22                   Let me -- let me take you back to this contention

  23    about the --                                       and the
  24                      that you're contending there that is evidence

  25    that I should rely on to show that they acted arbitrary and
                                                                                       20
Case 4:24-cv-00953-P    Document 152       Filed 05/01/25     Page 20 of 75   PageID 4547




   1    capricious.      But in looking and comparing, I think it was
   2    chart four and five in your brief, one of those charts dealt

   3    with                                                ; and on the second chart,

   4    it dealt only with                                         .
   5                   So, is that something that's really as important as

   6    you are arguing?      In other words, would that account for the

   7    difference in the                                   , because you're not
   8    comparing the same shipments in both of the charts?

   9                   MR. GROSSMAN:        Your Honor, the answer is we don't
  10    know, because the agency never asked them and that data isn't

  11    in the record.      The -- according to Lilly, the difference

  12    between the two data sets is that the -- is that one of them
  13    includes -- I'm sorry,

  14                   THE COURT:   Yeah.

  15                   MR. GROSSMAN:

  16                                                                     .    Is it

  17    plausible that there is a

  18
  19                                   ?     I don't know.        I think, at the very

  20    least, one could say that that raises serious questions that
  21    the agency should have asked.             And it's the kind of thing

  22    that you would expect to see addressed on the record,

  23    particularly --
  24                   THE COURT:   In other words, more -- more evidence

  25    that they didn't act reasonably when it came to making a
                                                                                  21
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 21 of 75    PageID 4548




   1    decision?
   2                   MR. GROSSMAN:    That's exactly --

   3                   THE COURT:   Reasonable agency action would have

   4    asked those questions.
   5                   MR. GROSSMAN:    There was all kinds of indicia on the

   6    record that there were problems, that there were shortages in

   7    different areas, that people were having problems obtaining
   8    access to these products.        And that's sort of -- that would

   9    prompt any reasonable agency to do as much as it could to
  10    compare the different sorts of data that it receives and see

  11    how they line up.      In other words, see if there's consistency.

  12                   If Lilly is reporting shipments, well, of course you
  13    look and see how that matches up against demand.                And if

  14    there's some discrepancy there, as there was in this instance,

  15    a very large one, the natural thing would be to ask -- to ask
  16    Lilly why.      That's something the agency never did in this

  17    instance.

  18                   And then, finally, the decision relies on Lilly's
  19    completely unsupported claim that wholesalers, by

  20                                                       .   That is directly
  21    contradicted by the screenshot data, which shows that

  22    wholesalers limit orders when they lack stock.             In other

  23    words, a pharmacy cannot place an order from any of the major
  24    wholesalers, when the wholesaler lacks the capacity to fulfill

  25    that order.
                                                                                  22
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 22 of 75   PageID 4549




   1                   And so, the fact -- so the agency was relying on a
   2    fact from Eli Lilly that has, effectively, no significance

   3    whatsoever, as demonstrated by evidence that was on the record

   4    by the agency.
   5                   And I think that's a good segue to talk about some

   6    of the evidence from the wholesalers.            To begin with, this

   7    so-called screenshot data shows widespread unavailability in
   8    November and December.         Many of these screenshots are

   9    identified by the FDA and by Lilly as being from
  10           .

  11

  12
  13                   FDA and Lilly claim that these low-stock and

  14    out-of-stock situations were short lived --

  15                   THE COURT:   Well, counsel, if the test here is just
  16    really reasonableness, why -- why would it not be reasonable

  17    for them to -- at least I'm anticipating what they're going to

  18    argue, the FDA, that rather than relying on the screenshots we
  19    relied on the comprehensive data.

  20                   How do you respond to that argument?
  21                   MR. GROSSMAN:     Because there's an inconsistency.             If

  22    you have major -- if you have major wholesalers that are

  23    supplying, in this instance about a third of the market, and
  24    that according to the record, materials distribute through

  25    effectively a hub-and-spoke system, a centralized system, and
                                                                                 23
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 23 of 75   PageID 4550




   1    they have pervasive, ongoing shortages, that shows that there
   2    is something seriously wrong with the supply of the drug.               And

   3    again, at a minimum, you would expect that to prompt the

   4    agency to make further inquires.
   5                   We think looking at it that if one of the Big Three

   6    Wholesalers has extended periods of a drug unavailability,

   7    that, in and of itself, under the statute, in all likelihood,
   8    would support a finding of shortage itself.

   9                   But I think the real -- but I think a more direct
  10    answer to Your Honor's question, is the way the Court should

  11    look at this is to evaluate the FDA's analysis of this

  12    question.       Part of the FDA's analysis was simply saying, We
  13    think Lilly's data is better, and that it doesn't detract --

  14    that this evidence doesn't detract from the weight of that.

  15    But, of course, we've already discussed some of the
  16    deficiencies and shortcomings of Lilly's data.

  17                   But it has more specific responses that, I think if

  18    you look at them closely, don't actually hold water.               For the
  19

  20                                                                       .   But
  21    that actually says nothing about whether a given dose, a given

  22    product, is in shortage or not.          In other words, if that

  23    supply across all wholesalers is less than the demand on the
  24    market, well, then, of course, there is a shortage.

  25                      (Court Reporter interrupts)
                                                                                  24
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 24 of 75   PageID 4551




   1                   THE COURT:    And, really, I'm going to be generous
   2    with the time.      I know that you feel like you're rushed.            I'm

   3    going to give you all the time to make your argument that you

   4    need, okay?
   5                   MR. GROSSMAN:     Thank you, Your Honor.

   6                   THE COURT:    And it may just be, we're southerners,

   7    so we speak slower.         I'm married to a New Yorker, so I get it.
   8                   MR. GROSSMAN:     I will try, Your Honor, to arrive at

   9    a happy medium.
  10                   THE COURT:    No, it's okay.      It's all right.

  11                   And my New York wife, she's also Sicilian.           So, I'm

  12    used to being told that, I can't understand you, you speak too
  13    slow.    So -- but don't take any offense to it.

  14                   In fact, I got in trouble last night because we

  15    wanted to order some Greek food.           And I told the -- when I
  16    called it in, I said I wanted ten pita bread, and I only got

  17    two.    And my wife chewed me out and she said, Nobody ever

  18    understands you, you've got such a hick accent.
  19                   So, don't take offense.       I get it.    We talk slow, we

  20    think slow, but we'll get everything down, I promise you.
  21                   MR. GROSSMAN:     No offense, Your Honor.         And Your

  22    Honor's rulings have been fast -- in fact, been very, very

  23    expedient.
  24                   The FDA, with respect to these November screenshots,

  25    part of its response also cites Lilly's assertion that it
                                                                                   25
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 25 of 75     PageID 4552




   1
   2                    .   But even accepting that to some extent, there's

   3    nothing to show that Lilly did provide or even was able to

   4    provide enough supply to meet the demand so that pharmacies
   5    actually obtain the products in question.            And, in fact, the

   6    evidence shows that they can't.

   7                   First, there are, as I mentioned, a wrath of
   8    screenshots from December, including from the same exact

   9    wholesalers.        So, in other words, these December screenshots
  10    show unavailability a month after Lilly said that it resolved

  11    the issues.

  12                   Second, and I think this is even more telling, many
  13    of the December screenshots from                                identified,

  14    not only when a notice of unavail- -- excuse me,

  15    unavailability was updated, but also how long the "product
  16    issue" was being tracked by                     So, for example,

  17    there's a screenshot at page 668 of the plaintiffs' appendix,

  18    and it shows that the specific dosage at issue had a product
  19    issue, which specifically was being out of stock, that began

  20    on October 23rd, and that it was most recently updated on
  21    December 10th.

  22                   Similar screenshots, showing extended product

  23    periods of unavailability running through December 10th,
  24    shortly before the decision in this case, are in the

  25    plaintiffs' appendix at pages 680, 667, 669, 679, 682, and
                                                                                 26
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 26 of 75   PageID 4553




   1    714.
   2                   THE COURT:   Tell me that -- I want you to tell me

   3    those one more time, counsel.

   4                   MR. GROSSMAN:    Yes, Your Honor.
   5                   THE COURT:   Go ahead.

   6                   MR. GROSSMAN:    So, 668.

   7                   THE COURT:   Yes, sir.
   8                   MR. GROSSMAN:    And then 680.

   9                   THE COURT:   Uh-huh.
  10                   MR. GROSSMAN:    667, 669, 679, 682, and 714.

  11                   THE COURT:   All right.     Thank you.

  12                   MR. GROSSMAN:    And that's in addition to the
  13    notations in many of the screenshots from

  14    indicating that the products in question wouldn't be available

  15    either from an undetermined period of time or for months.
  16                   Now, none of those specific -- specific dates and

  17    representations that are on the face of this screenshot

  18    evidence, none of those are actually addressed in the decision
  19    itself.    The FDA simply waived away this entire category of

  20    evidence without even attempting to address or explain what it
  21    shows on the face of it.

  22                   Finally, I'd like to briefly address, or at least

  23    make a few points, with respect to our notice and comment
  24    claim.    The agency's position here is that this was not a

  25    legislative rule, but it was instead an adjudication.               We
                                                                                 27
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 27 of 75   PageID 4554




   1    think that as a legal matter it couldn't be an adjudication
   2    for at least two reasons.        The first is that the action -- the

   3    agency action here makes prospective law by prohibiting

   4    certain types of compounding going forward by all compounders,
   5    including pharmacies that aren't even compounding today.

   6                   I mean, the way an adjudication works, is that it

   7    adjudicates the rights of a person who is before the agency --
   8                   THE COURT:   Tell me what you think your best case is

   9    on that argument.
  10                   MR. GROSSMAN:    Our best case on that argument, we

  11    cited all over the place, Your Honor, but it is the Safari

  12    Club.   We think that Safari Club is effectively
  13    indistinguishable, in that it concerned a factual

  14    determination by the agency that was made outside of the

  15    context of an adjudication involving the rights of a
  16    particular party.      And then that factual determination

  17    triggered legal consequences that applied in subsequent

  18    proceedings.      That's exactly what happened here.
  19                   The agency made a factual determination, based on

  20    its policy views, that, in turn, triggers legal consequences,
  21    so that makes it a rule, in general, and those apply only

  22    prospectively.      In other words, what people were doing up

  23    until that day is not affected whatsoever by the agency's
  24    determination.      It could -- that new rule could only be

  25    applied prospectively to future conduct.
                                                                                  28
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 28 of 75    PageID 4555




   1                   For example, if an outsourcing facility were to
   2    continue compounding from Tirzepatide, then it would be

   3    presumably an enforcement proceeding where this new rule would

   4    then be applied against it.
   5                   THE COURT:   Okay.

   6                   MR. GROSSMAN:    But here, nothing was applied against

   7    any party whatsoever, because -- and this is a novel thing
   8    about this -- the agency's argument in this case, there were

   9    no parties before the agency in this proceeding.
  10                   We've argued this consistently, and the FDA has

  11    never disputed in its briefing that there were no parties to

  12    the proceeding that it conducted.           It just says that that
  13    doesn't matter, even though it can't identify a single

  14    adjudication in the history of the Administrative Procedure

  15    Act that involved an adjudication with no parties before the
  16    agency at all.

  17                   THE COURT:   Let me stop you, counsel.

  18                   One of the things that I would like FDA counsel, and
  19    maybe my in-house FDA counsel, could enlighten me on, when we

  20    have been doing our research when it comes to this case, is
  21    the frequency in the history of FDA, this type of proceeding

  22    involving shortages, we haven't been able to find any.                I'm

  23    not saying that it doesn't happen, it may be the first time
  24    that this has been challenged in this type of context.                But

  25    I'd like to know, I think it would just help me.                I'm not
                                                                                 29
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 29 of 75   PageID 4556




   1    making any judgment one way or another, I'm just curious.
   2                   Go ahead, counsel.

   3                   MR. GROSSMAN:    Thank you.

   4                   Lilly, in its opposition brief, for the first time
   5    claims that it was actually a party to this proceeding.               The

   6    FDA, evidently, at least going by its briefing, disagrees with

   7    that.   And for what it's worth, the delisting action here
   8    doesn't adjudicate Lilly's rights whatsoever.             Lilly can still

   9    do everything that it did before the action was issued.
  10                   Second, the Court relied, in its preliminary

  11    injunction decision, on the statutory language that the

  12    shortage list be kept up to date.           We think that that
  13    particular requirement doesn't really have anything to do with

  14    whether a proceeding is a rulemaking or an adjudication, which

  15    concerns the forum of the proceedings.           At most, the right way
  16    to frame this, the right way to think about it, would be

  17    whether -- whether that requirement somehow abrogates and

  18    overcomes the APA's ordinary default notice and comment
  19    provisions.      But that's not a ground of the decision here.

  20    That is not what the agency argued in its order.
  21                   Also, the language here, up to date, doesn't satisfy

  22    the standard for expressly departing from the APA's

  23    standard -- standard procedures for rulemaking or for anything
  24    else.   The statute, on its face, identifies bases for shortage

  25    -- for shortages, liked planned discontinuations of
                                                                                 30
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 30 of 75   PageID 4557




   1    manufacturing, that allow more than enough time for notice and
   2    comment.

   3                   There are -- there is the related shortage

   4    notification provision of Section 506C, that contemplates
   5    proceedings that unfurl over a period of weeks or months, not

   6    just days.

   7                   For example, it provides, on its face, 30 days for a
   8    manufacturer to respond to an FDA determination, that the

   9    manufacturer has failed to report a shortage and failed to
  10    provide the needed information to the agency.             So, this isn't

  11    unfurling at a breakneck speed, it's going a more leisurely

  12    pace that is commensurate with the time available for
  13    rulemaking under standard procedures.

  14                   But I would note that courts -- that when Congress

  15    has commanded that something be done expeditiously, courts
  16    have not insisted on the standard rulemaking timelines.               When

  17    Congress has used words like expedited or without delay, the

  18    courts have allowed comment periods of as little as 15 or
  19    7 days.

  20                   We cited, as an example, the Omnipoint decision by
  21    the D.C. Circuit, but that cites a number of other decisions

  22    along similar lines.       And if even that was not feasible, a

  23    seven-day comment period, then in that particular instance the
  24    agency would clearly have good cause under the APA itself to

  25    forgo notice and comment.        So, there's nothing in here that on
                                                                                 31
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 31 of 75   PageID 4558




   1    its face conflicts with, let alone dis- -- expressly displaces
   2    the ordinarily applicable notice and comment provisions.

   3                   The Court also addressed the use of confidential

   4    materials in -- in certain types of shortage decisions.               The
   5    confidentiality provision in the shortage statute simply says

   6    that it does not abrogate generally applicable laws that apply

   7    to all rulemakings.       In fact, one of those -- one of those two
   8    statutes that it cites, the generally applicable ones, one of

   9    those is part of the APA itself.          There's simply no indication
  10    that by citing generally applicable statutes that apply,

  11    again, to every single rulemaking that occurs, that that

  12    manifests any sort of intent to override the APA and its
  13    standard default procedural provisions.

  14                   Moreover, the statute contemplates delays that

  15    likely would not even involve any confidential information.
  16    For example, shipping delays, regulatory delays,

  17    discontinuance of manufacturing.          And I will note, as well,

  18    that the use of confidential material in rulemakings is
  19    incredibly common.

  20                   I, myself, just the other day, went to
  21    federalregister.gov, and I just did a search for confidential

  22    business information and final rules and proposed rules, there

  23    were over 1,000 hits from 2024 alone.           Most of those -- or at
  24    least many of them, hundreds of them, cite one or both of the

  25    two generally applicable statutory confidentiality provisions
                                                                                 32
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 32 of 75   PageID 4559




   1    that are note -- that are referenced in the statute that's at
   2    issue here.

   3                   I will also note in my own experience, as well as in

   4    case law, the use of confidential information does not prevent
   5    meaningful public participation through notice and comment.

   6    Agencies do this all the time.          What agencies will do when

   7    they're relying on confidential information, they will
   8    summarize, they might put it in aggregate form, they can

   9    describe it qualitatively.          For example, Lilly's data show
  10    that on a cumulative basis, supply is outrunning demand.

  11                   THE COURT:   Believe me, I get it.       I couldn't even

  12    access the Fifth Circuit decision in this case until -- what
  13    was it, John?

  14                   LAW CLERK:   Ten days.

  15                   THE COURT:   Ten days after it was made.         So, I get
  16    it.   I get your point.

  17                   MR. GROSSMAN:    The point is, agencies do this every

  18    day of the week.
  19                   THE COURT:   Yeah.

  20                   MR. GROSSMAN:    And not only can they discuss data in
  21    that way, when disclosing the data itself would be

  22    confidential, what they could also do is they could disclose

  23    their methodology, their proposed conclusions, and they can
  24    identify what information the agency considers relevant to the

  25    question before it and how it's going to consider that
                                                                                   33
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 33 of 75    PageID 4560




   1    information.
   2                   THE COURT:    I'm very familiar.      I bet Ms. Lewis

   3    (sic) is familiar with another case -- or another two cases

   4    that I have involving FOIA requests and the FDA.                 So, I get
   5    what you're saying.         I get the point.

   6                   Let me get you to wrap up, if you can, and then I'll

   7    maybe ask you a couple of questions that come from my old
   8    Court of Appeals days.

   9                   So, go ahead, sir.
  10                   MR. GROSSMAN:     Yes, Your Honor.

  11                   I just have one final point to make, and that's

  12    regarding what the Court called the lose/lose scenario.                 In
  13    that, the original shortage action was not undertaken through

  14    notice and comment.

  15                   Perez makes clear that the process -- that the
  16    procedure that's required to amend or repeal a rule is the

  17    same that was required to enact it, to promulgate it in the

  18    first place.      So, this isn't an instance where two wrongs make
  19    a right.       And that can't possibly be the result, because it

  20    would mean that all kinds of tax regulations would be invalid
  21    instantly.

  22                   But even going beyond that, the Supreme Court's

  23    decision -- let me say two other things on this.                 One, the
  24    agency, in its delisting action, didn't identify the validity

  25    of the original shortage -- the original shortage action as a
                                                                                    34
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25    Page 34 of 75   PageID 4561




   1    basis for its decision, and that original action is not before
   2    the Court in this case.          So, nobody has challenged it, we

   3    think that probably nobody would have standing to challenge

   4    it, but that would have to be some other case.
   5                   And even if the agency had mentioned that as a

   6    ground, it couldn't simply say, We're going to disregard it or

   7    abandon it, or something like that.               The Fifth Circuit
   8    explained as much in the recent decision Louisiana vs.

   9    Department of Energy.          That even when a rule may be invalid,
  10    the agency can't simply say, We're getting rid of it for that

  11    reason, it has to consider alternatives.               For example, fixing

  12    whatever the legal problem might be.
  13                   So, we don't think the issue is properly before the

  14    Court of the validity of the original action in this instance.

  15    But even if it were, I don't think it would change the result
  16    in this case.

  17                   THE COURT:   All right.       Not to pin you down, but I'm

  18    just curious, what you think -- what do you think, out of your
  19    many arguments in favor of summary judgment, what do you think

  20    is the most compelling of the counts you've presented to the
  21    case?   What would you say is your best argument or your --

  22    point me in the record your best piece of evidence to show

  23    that the FDA fouled things up?
  24                   MR. GROSSMAN:      Your Honor, the way I would answer

  25    that question is to identify what I think is the easiest
                                                                                   35
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 35 of 75   PageID 4562




   1    ground for the Court.
   2                   THE COURT:   That's what I like, easy stuff.

   3                   MR. GROSSMAN:      And I think that is really going to

   4    be our second claim, which is simply lack of reasoned
   5    explanation.      There's a reason we led with that in our summary

   6    judgment briefing, and that's because it's apparent on the

   7    face of the decision.          The FDA inherently made all kinds of
   8    determinations and undertook a methodology that is never

   9    described and doesn't appear to have substance to it
  10    whatsoever.

  11                   THE COURT:   So, could I grant your motion for

  12    summary judgment on Count 2 and leave the notice and comment
  13    versus adjudication, going down that route, could I leave that

  14    alone and still get to where you want to go?

  15                   MR. GROSSMAN:      Yes, Your Honor.
  16                   The Court could do that, and that would be a basis

  17    to vacate the rule, and in that -- I should say, vacate the

  18    action.    And in that instance, that would resolve the case.
  19                   THE COURT:   Okay.     I appreciate it.       I may have some

  20    more questions for you.          But thank you for your thorough
  21    argument, sir, I appreciate it.

  22                   MR. GROSSMAN:      Thank you, Your Honor.

  23                   THE COURT:   All right.
  24                   I guess now I'll hear from FDA counsel,

  25    Mr. McDonald.
                                                                                 36
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 36 of 75   PageID 4563




   1                   MR. MCDONALD:   Good afternoon.       Thank you, Your
   2    Honor, for the --

   3                   THE COURT:   And I'll do my best not to interrupt,

   4    but I do have some questions.
   5                   MR. MCDONALD:   Sure.     Well --

   6                   THE COURT:   And hopefully some of my questions to

   7    Mr. Grossman may have prompted -- you can tell what I'm
   8    curious about.

   9                   MR. MCDONALD:   With the Court's permission, I'd like
  10    to start with the statute --

  11                   THE COURT:   Yeah.

  12                   MR. MCDONALD:   -- because I think that answers some
  13    of the questions before the Court.

  14                   THE COURT:   Yes, sir.

  15                   MR. MCDONALD:   The statute directs the FDA to
  16    determine whether there is a shortage.             And it says, A

  17    shortage is when the demand or projected demand for the drug

  18    within the United States exceeds the supply of the drug.               The
  19    statute itself gives the FDA the parameters it needs to make

  20    the decision it is tasked with making.
  21                   And here are the facts on those parameters at the

  22    time of the agency's decision.          The most recent information

  23    available to the agency was that after fulfilling all open
  24    orders, the manufacturer had

  25              on hand.    And at that same time, the manufacturer also
                                                                                 37
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 37 of 75   PageID 4564




   1    had                                                     , which the
   2    manufacturer said could quickly be made into finished product

   3    to adjust to the variations in demand.

   4                   Those snapshots of net inventory had a increasing
   5    trend over the period of time that the agency evaluated it, it

   6    had several months of those snapshots, but that wasn't all the

   7    agency looked at either.        It also looked at the cumulative
   8    data that showed that over a longer period of time, Lilly had

   9    improved its ability to adjust to the demand and continued to
  10    meet the demand.      Some of those cumulative figures also

  11    projected into the future, and indicated that Lilly could also

  12    meet the increased -- anticipated increased demand in the
  13    future.

  14                   FDA had good reason to rely on those projections,

  15    because it received that information over a period of time and
  16    was able to see that the projected numbers for one month

  17    ultimately

  18
  19                   THE COURT:   Can you describe to me as a general

  20    matter -- I'm assuming -- back in the old days when I was a
  21    DOJ attorney, I was responsible for doing -- oh, my main area

  22    was doing anti-dumping cases, tariffs, products from China,

  23    specifically garlic and pencils from China, of all things.
  24    So, I presume you -- it's fair to say that you have an area of

  25    expertise at DOJ and I presume it's these FDA actions; is that
                                                                                    38
Case 4:24-cv-00953-P     Document 152     Filed 05/01/25   Page 38 of 75   PageID 4565




   1    fair to say, sir?
   2                   MR. MCDONALD:      It's reasonably fair to say.

   3                   But to answer one of the Court's questions, to

   4    anyone's knowledge, this is the first time a drug shortage
   5    decision has ever been litigated.

   6                   THE COURT:   Well, you're smart, because that was the

   7    question I was going to ask.            How many of these have you had,
   8    how often do we have these?

   9                   I have not been able to locate one, so you've
  10    answered my question.           I shouldn't have told you the

  11    long-winded story about Chinese garlic.

  12                   Go ahead, sir.
  13                   MR. MCDONALD:      Well, to answer the Court, it's only

  14    the two pending before Your Honor, are all the ones I'm aware

  15    of.
  16                   THE COURT:   And that's the same thing from my FDA

  17    counsel?

  18                   MS. LOVAS:   Yes, Your Honor.
  19                   THE COURT:   So, it's fair to say this is not

  20    something that's, at least in your experience, is commonly
  21    done at the agency?

  22                   MS. LOVAS:   Litigating this issue?

  23                   THE COURT:   Just in general, not even litigated.
  24    I'll take your word for it, this is the only two that have

  25    ever been litigated.
                                                                                  39
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 39 of 75   PageID 4566




   1                   Just in general, is this -- I don't -- this is the
   2    first -- well, that and the companion case that I have, the

   3    APA challenge I've had involving FDA.            So, just educate me.

   4    Taking litigation out of it, garden-variety case like this.
   5    Do these go on often, where the FDA is determining whether the

   6    shortage is over?      I guess that's a good way to say it, maybe

   7    not.
   8                   MR. MCDONALD:    Your Honor, the more --

   9                   THE COURT:   Outside of litigation or that they've
  10    been challenged.

  11                   MR. MCDONALD:    Your Honor, the more common scenario

  12    is when there's some sort of event that disrupts the ability
  13    to manufacture.      Like a tornado takes down the only

  14    manufacturing facility and that drug is, as a result, in

  15    shortage for a period of time.           That's the more typical
  16    instance of a drug shortage and --

  17                   THE COURT:   And I guess in a case like that, it

  18    would be much easier to determine whether to end the shortage
  19    because the Skyrizi factory is back online or whatever, right?

  20                   MR. MCDONALD:    Or at least it would be different
  21    criteria.       I'm not sure how difficult it would be, since that

  22    hasn't come across my desk.

  23                   THE COURT:   Okay.    So, it's fair to say that this is
  24    -- I can't think of another word -- but fairly unprecedented

  25    for everyone involved.         I don't -- certainly in my lifetime, I
                                                                                   40
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 40 of 75    PageID 4567




   1    can't think of products similar to the Tirzepatide and also
   2    the semaglutide products that have had the popularity that

   3    they have had and the demand that's out there.

   4                   And I would -- that's helpful to me.         I was just
   5    curious if y'all had been down this road before.                 I would

   6    assume this is fairly unprecedented due to the popularity of

   7    these drugs; is that fair to say?
   8                   MR. MCDONALD:    I look to agency counsel to correct

   9    me, but it is typical to assess the volume of the demand and
  10    when the supply comes back online, whatever the reason was for

  11    the shortage in the first place.           What would be unusual here

  12    is just the runaway demand for the drug --
  13                   THE COURT:   And that's what I was trying to say.

  14                   MR. MCDONALD:    That's accurate, Your Honor.

  15                   THE COURT:   Okay.    I didn't want to get you off your
  16    argument, I just -- it's helpful for me.

  17                   Go ahead, sir.

  18                   MR. MCDONALD:    Not at all.
  19                   So, I wanted to actually circle back to that

  20    snapshot, the most recent snapshot evidence, and respond to
  21    something opposing counsel mentioned.             It does reflect, in

  22    some sense, the demand for the drug.             Because Lilly

  23    represented that it was not limiting the wholesalers' orders
  24    at all.    So, when that -- when those numbers reflect that it

  25    is net inventory, that all open orders have been fulfilled,
                                                                                 41
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 41 of 75   PageID 4568




   1    that means every wholesale order we have as of that time has
   2    gone out.       So, it's not accurate to say it doesn't reflect

   3    demand, at all.

   4                   So, I described some of the snapshot evidence and
   5    some of the cumulative evidence.          That -- that was ample

   6    evidence for the agency to conclude -- looking back at the

   7    statute, whether at that moment was supply now outstripping
   8    demand and was supply projected to outstrip demand.

   9                   THE COURT:   Okay.   So it --
  10                   MR. MCDONALD:   That's the --

  11                   THE COURT:   It's helpful for me, because remember

  12    we're here on summary judgment.          I asked similar questions to
  13    plaintiffs' counsel.        But can you point me to the most salient

  14    evidence that you would have that FDA could rely on to show

  15    that this surplus would continue past the projected window
  16    that they looked in?

  17                   Like, is there evidence on the record, do you know

  18    of a -- what's the best thing that the Court can look at, and
  19    I can say, Yeah, you bet, the FDA was reasonable here, looks

  20    like it's reasonable to believe that this surplus would carry
  21    on past the time period they looked at.            What do you think is

  22    the best piece of evidence that I can look at?

  23                   MR. MCDONALD:   To confirm I understand Your Honor's
  24    question, the projected charts in the decision memo that the

  25    FDA relied on, they were projected through                           .
                                                                                   42
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25     Page 42 of 75   PageID 4569




   1                   Is Your Honor asking about a period
   2

   3                   THE COURT:   Yeah, because I think that's important.

   4    That if you're saying the shortage is over, Eli Lilly has the
   5    exclusive right to do this, we're not going to allow people to

   6    compound it anymore, seems like to me you'd have to have a

   7    basis that the shortage was over for a reasonable time period.
   8                   MR. MCDONALD:   Well, as of the decision, that

   9    projection was                          .   So,
  10                    that Lilly would continue to meet the demand.

  11                   And something that --

  12                   THE COURT:   What about in                                 it
  13    looks like they're not meeting the demand?

  14                   MR. MCDONALD:   Well, that's something that FDA --

  15                   THE COURT:   Everybody is trying to get in shape for
  16    their bathing suits to go to the beach this summer.

  17                   MR. MCDONALD:   Of course.       Well, that's something

  18    FDA addressed in both the declaratory order and the underlying
  19    decision memo.      It said in both places, the agency is going to

  20    continue to monitor the supply and demand.
  21                   And there is possibility that it's                       , the

  22    prediction didn't prove correct, FDA could have declared a new

  23    shortage.      But in that intervening time when Lilly was -- the
  24    FDA reasonably found that Lilly was meeting demand, at least

  25    for those                               , going to meet - continue to
                                                                                 43
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 43 of 75   PageID 4570




   1    meet demand, that's no reason to maintain that a shortage
   2    exists simply because we can't look six months in advance.

   3    It's better and more faithful to the statute for FDA to

   4    continue to monitor and declare a new shortage if that comes
   5    out.

   6                   THE COURT:   Okay.

   7                   MR. MCDONALD:   So, that's -- I'm happy to answer
   8    more questions about Eli Lilly's data, but otherwise I'd like

   9    to turn to some other information.
  10                   THE COURT:   No, I want you to make your argument.

  11                   MR. MCDONALD:   Sure.     So, the agency had a number of

  12    other pieces of information before it.           Much of it was third
  13    party or anecdotal, unverifiable, otherwise not probative, and

  14    does not show the sort of pervasive shortage that plaintiffs

  15    are alleging it does.
  16                   Turning to the screenshot evidence, as set out in

  17    our briefs, some of those screenshots are duplicates of each

  18    other.    Some of them aren't dated, some of them are.             Some of
  19    them are about a different drug entirely.            And some aren't

  20    about the wholesalers at all.
  21                   So, I'll focus on the ones that plaintiffs brought

  22    up, in the most recent briefing and just now.             I'm looking at

  23    plaintiffs' appendix 682, one of the cites that counsel just
  24    invoked.       That's also administrative record 1544.          It's -- it

  25    shows the stock for Mounjaro and Zepbound.            For the
                                                                                   44
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 44 of 75     PageID 4571




   1    5-milligram dose of Mounjaro, says it's in stock.                For the
   2    7.5-milligram dose of Mounjaro, says in stock.             And I can go

   3    all the way down the list, it's in stock as of that moment.

   4                   Now, sure, there's a -- there's a notation on the
   5    website that warns a visitor that -- my read is that supply is

   6    tight.    But to say that this screenshot that shows the product

   7    in stock, or seven other screenshots shows a pervasive
   8    shortage, is stretching the evidence pretty far, Your Honor.

   9    And FDA reasonably relied on the much more detailed and
  10    reliable information from the manufacturer.

  11                   Some of the other third-party evidence suffers from

  12    similar defects.      Like the surveys where there was not
  13    information before the FDA about who was allowed to complete

  14    the survey, were multiple people allowed to complete the

  15    survey, what do the questions on the survey even mean.
  16                   The most important third-party information before

  17    the agency was about the volume of compounding.                 And just to

  18    address that briefly, FDA accurately used that to evaluate
  19    whether Lilly would be able to continue meeting the projected

  20    demand.
  21                   THE COURT:   Is it reasonable for the agency to rely

  22    so much on the representations of Eli Lilly?

  23                   Couldn't you make an argument that given the demand
  24    for this product, given the large percent of the population

  25    that needs it for health reasons, it would be arbitrary just
                                                                                   45
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 45 of 75   PageID 4572




   1    to rely upon the numbers that you were given by Eli Lilly,
   2    rather than other third parties, or for that matter, greater

   3    level of interaction with Eli Lilly where you have boots on

   4    the ground verifying versus, all right, this is what their
   5    charts show us?      Why is that not the more reasonable thing to

   6    do?

   7                   MR. MCDONALD:     I disagree.      I don't think it could
   8    be per se unreasonable or arbitrary and capricious to rely on

   9    information from one party.
  10                   But here, the record shows that FDA interrogated the

  11    responses it got from Eli Lilly.            And in some instances, it

  12    refused to consider some of the information that Eli Lilly put
  13    before it.

  14                   For example, Eli Lilly

  15                                                         And FDA said, Well,
  16    we don't have comprehensive information about that to rely on

  17    it, we're not going to rely on it.

  18                   Eli Lilly said, Look,
  19

  20
  21                            .      And FDA said,

  22                    , and we're not going to consider that for the

  23    purposes of our decision.
  24                   In another instance, Eli Lilly provided information

  25    that was simply drug by drug and not broken down by dosage.
                                                                                    46
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25    Page 46 of 75     PageID 4573




   1    And the FDA came back to them and said, We actually need to
   2    see this disaggregated, broken down.

   3                   And further, the credibility of the information from

   4    Eli Lilly was, as I mentioned before, proved out over time.
   5    It wasn't only one tranche of evidence taken from Eli Lilly.

   6    There was instances where Eli Lilly said, We think this is

   7    going to happen, and then time went by and FDA was able to go
   8    back and verify that it was reliable.

   9                   So, under all of those circumstances, it was
  10    completely reasonable for the agency to rely to the extent it

  11    did.   And I'd add that it had very little choice, other than

  12    to get the information from the manufacturer and interrogate
  13    it as it did.

  14                   For a couple of reasons, due to the nature of this

  15    shortage it was the most important information.                  The person
  16    with the information was Eli Lilly.             And the second reason is

  17    that FDA was under a statutory obligation to act quickly.                  The

  18    list must be kept up to date.
  19                   So, it's easy for us to sit here with the luxury of

  20    time now that the baseball game is cancelled and think of ways
  21    that Eli Lilly could have looked at this -- or sorry, FDA

  22    could have looked at this, could have asked Eli Lilly this

  23    question, but the agency was under that time pressure.
  24                   So, once it had information that reasonably showed

  25    that the shortage was over, it was under a statutory
                                                                                  47
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25    Page 47 of 75   PageID 4574




   1    obligation to -- to issue that decision.
   2                   THE COURT:   I would rather be at the baseball game,

   3    by the way.

   4                      (Laughter)
   5                   MR. MCDONALD:   I don't blame you, Your Honor.

   6                   THE COURT:   Or maybe not.       They got -- as bad as

   7    they're playing, I doubt if they'd win if they did play.
   8                      (Laughter)

   9                   MR. MCDONALD:   Well, we've set out --
  10                   THE COURT:   They got a run ruled the last game and

  11    somehow they have like a four and ten record, but they made

  12    the playoffs.      I don't know who is doing the math on that, but
  13    I don't know.

  14                   MR. MCDONALD:   Well, we had some more detailed

  15    arguments in our briefs about, for example, the rulemaking
  16    versus adjudication point.         I'm happy to address, if the Court

  17    has a question.

  18                   THE COURT:   Yes.
  19                   If you couldn't tell by the answer -- or rather by

  20    the question that I asked Mr. Grossman, I understand the
  21    arguments made arguing that this is -- whether its

  22    adjudication versus notice and comment.             I spent some time

  23    reviewing the Safari case.         But I am a little bit hesitant to
  24    go deep into that argument.

  25                   I do feel, to a certain extent, it would be plowing
                                                                                     48
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25     Page 48 of 75   PageID 4575




   1    some new ground, which -- I'm certainly not afraid to get
   2    reversed, I get reversed all the time.                But I am loathed to

   3    try to go out and essentially -- a Judge shouldn't say this,

   4    but I can't think of any other way to say it, make new law,
   5    interpret laws in ways it hasn't been interpreted before.

   6                   And I've never seen -- and I know, taking the Safari

   7    Club out of it, I do think that this case is distinguishable.
   8    But at the same time, I understand the plaintiffs' arguments,

   9    and it does bother me.
  10                   So, make your argument there.           I'd like to hear from

  11    the Government.

  12                   MR. MCDONALD:     Well, I don't think your Honor has to
  13    worry, in part, because that case is distinguishable.                   One

  14    important feature of the dispute in that case, is that the

  15    challenged decision had purely perspective effects.                   It said,
  16    In the future if somebody wants to do this thing, they're not

  17    allowed to do it.

  18                   Whereas, in this case and similar cases, there's
  19    ongoing conduct here.          And this is something plaintiffs have

  20    mentioned ad nauseam, ongoing conduct that must cease because
  21    of the resolution of this dispute.                And that's not purely

  22    perspective at all.

  23                   And the second reason, is that the Fifth Circuit has
  24    addressed declaratory orders a number of times, as in the

  25    American Airlines case cited in our brief.                There's also a FCC
                                                                                 49
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 49 of 75   PageID 4576




   1    case that has to do with citing certain communications
   2    equipment and local -- local approvals of that, and setting

   3    time limits for how quickly a local government has to act on

   4    certain applications.
   5                   And those, similarly, just going -- going to the

   6    declaratory adjudication statute, that's 5 U.S.C. 554(e),

   7    that's the agency "in its sound discretion" issuing a
   8    declaratory order to terminate a controversy or remove

   9    uncertainty.
  10                   And the declaratory order in the adjudication

  11    context serves a really useful purpose.            Because it prevents

  12    the agency from needing to go out and doing an adjudication as
  13    an enforcement action just to answer, for example, a

  14    jurisdictional question about the agency; or in this case, no

  15    compounder needed to risk enforcement, just for anyone to find
  16    out whether the shortage was over or not.            That didn't need to

  17    go through an enforcement action.

  18                   THE COURT:   I was actually one of the attorneys on
  19    the American Airlines vs. D.O.T. case way back in the day.

  20                   MR. MCDONALD:   Really?
  21                   THE COURT:   I was.   That involved the expansion of

  22    flights from Love Field airport.

  23                   What else you got?
  24                   MR. MCDONALD:   This was also a useful --

  25                   THE COURT:   And, John, if you have any questions,
                                                                                   50
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 50 of 75   PageID 4577




   1    pass them up.
   2                   MR. MCDONALD:     It is also a useful procedure because

   3    of the statutory constraints on the agency.               As this Court

   4    recognized, up to date means up to date.              The rulemaking takes
   5    time, even if you're using the good cause exception.

   6                   And that's especially true in this public health

   7    context, where if a drug is in shortage, somebody needs the
   8    drug, the agency needs to add that drug to the -- to list in

   9    a -- in a brisk manner.          And once the shortage is over, it
  10    needs to be similarly quick to take it off.

  11                   Similarly, importantly, the statute goes out of its

  12    way to preserve the confidentiality of the information at
  13    issue.    And it also addresses a public health circumstance

  14    that I don't think we've talked about yet, which is, it gives

  15    the Secretary of HHS the discretion to keep the entire thing
  16    under wraps at the risk that folks might go and try to horde

  17    the drugs.      It says, in that instance, HHS Secretary is

  18    allowed to keep the entire existence of the shortage secret.
  19    How is the agency supposed to have a rulemaking if the entire

  20    proceeding is secret?
  21                   But even if that -- even if that provision isn't

  22    invoked, this -- this kind of controversy is unlike ones cited

  23    in plaintiffs' brief.          And it doesn't call for the sort of
  24    best practices for handling sensitive or confidential

  25    information that plaintiffs have cited to.              We agree,
                                                                                 51
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 51 of 75   PageID 4578




   1    administrative agencies consider confidential information all
   2    of the time, it's perfectly -- it's perfectly right that they

   3    do that.

   4                   Here, however, every piece of material information
   5    is confidential.      If the agency is not allowed to disclose the

   6    supply and disclose the demand, how is any member of the

   7    public supposed to comment on whether supply is meeting
   8    demand?

   9                   These are statutory constraints on the agency that,
  10    in this case, made a rulemaking impossible.             So --

  11                   THE COURT:   I -- I understand.      Honestly, I don't

  12    like it.       But what I like and don't like doesn't affect what
  13    my ruling is going to be.

  14                   But I get it.   I understand it.

  15                   MR. MCDONALD:   If I could have one moment, Your
  16    Honor.

  17                   THE COURT:   Yeah.

  18                   John, do you have any questions?       (No response)

  19                      (Brief pause)

  20                   MR. MCDONALD:   Your Honor, I thought of two more
  21    things I wanted to --

  22                   THE COURT:   Go ahead.

  23                   MR. MCDONALD:   -- leave the Court with.
  24                   The Court had asked about the                          .

  25                   THE COURT:   Yeah.
                                                                                 52
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 52 of 75   PageID 4579




   1                   MR. MCDONALD:   I wanted to clarify, that Lilly
   2    represented to the agency that it was capable of producing

   3    that amount as of the time of the representation; not that it

   4    was doing so or had done so in the past.            And that's the way
   5    that the agency considered it.

   6                   THE COURT:   John, my claw clerk, had reminded me

   7    this, this was in my notes that I wanted to ask you about.                I
   8    think that plaintiffs had a very good point, that the FDA, as

   9    well as Eli Lilly, needs to show that there's the capability
  10    to store the surplus justifying the decision to take this off

  11    the shortage list, and that, obviously, not only that you have

  12    the capability to store it -- maybe this is a better question
  13    for Eli Lilly, but it would go to FDA, because you should know

  14    your record.

  15                   And if you-all can't show the ability that Eli Lilly
  16    has -- can store this, you can't really make the argument that

  17    there's not a shortage anymore.          Therefore, the decision would

  18    be invalid.
  19                   What's the best piece of evidence that you have that

  20    you contend FDA was reasonable to rely on Eli Lilly's
  21    representation with regards to storage?

  22                   And my Eli Lilly counsel, I want you to point that

  23    out as well when you come up.
  24                   MR. MCDONALD:   Your Honor, I think -- I think the

  25    best evidence is the -- the charts and the decision memo,
                                                                                   53
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25     Page 53 of 75   PageID 4580




   1    which show not just a large demand, but ability to meet that
   2    demand.    Which means, there's not a warehouse sitting

   3    somewhere full of doses not being touched.              Those doses are

   4    being moved out of the warehouse at a rapid rate.
   5                   THE COURT:   The fact that they can -- not

   6    necessarily storage, but the fact that they can meet the

   7    manufacturing demand -- they can meet the demand via their
   8    increased manufacturing capability?             Did I say that correctly?

   9                   MR. MCDONALD:   That's right.        And that -- that sort
  10    of churn of inventory meant that the manufacturer wasn't

  11    shipping out only the newest doses and holding back older

  12    doses that might go out -- expire.              Of course, like any, you
  13    know, rational business, it was sending out the doses of --

  14    the older doses that were still within expiration to be used

  15    then.
  16                   THE COURT:   Okay.

  17                   MR. MCDONALD:   So --

  18                   THE COURT:   I get your argument.         I just wanted to
  19    know if you could point -- point me to somewhere on that.

  20                   I had asked the question about the difference in the
  21    charts, from                                    , and the

  22    And do you have -- you heard Mr. Grossman's --

  23                   MR. MCDONALD:   I did.
  24                   THE COURT:   -- contention with that?          How do you

  25    respond to that?
                                                                                   54
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 54 of 75   PageID 4581




   1                   MR. MCDONALD:     I did.     I'd only emphasize that
   2    ultimately we're talking about, in those

   3

   4
   5                   And so, when you take data from one table and

   6    another table that aren't meant to be compared, there's going

   7    to be some -- some difference in how they're reported.                 And
   8    also, we pointed out in our brief that there are going to be

   9    doses -- doses that are ordered at the end of one month, but
  10    not shipped till the next.

  11                   And so, for example, using those timeframes, there

  12    are going to be orders in September that are then shipped the
  13    beginning of October.          So, even assuming it's a fair

  14    comparison, you're only seeing the shipments of those orders.

  15    And then on the other end, you're going to get orders at the
  16    very end of November that aren't shipped until December.

  17                   Something that plaintiffs pointed out in their reply

  18    was, Well, isn't that a wash?           You have some shipments without
  19    orders and some orders without shipments.              It's not a wash

  20    when the demand is going up.           You've got fewer orders at the
  21    end of October than you did at the end of -- I'm sorry, at the

  22    end of September, than you did at the end of November.                 That's

  23    going to be a higher number of orders without shipments.
  24                   So, perhaps that's where this                          comes

  25    from.   But I object to the premise at the outset that these
                                                                                  55
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 55 of 75   PageID 4582




   1    numbers are fairly comparable to begin with.
   2                   THE COURT:    Okay.

   3                   MR. MCDONALD:     So --

   4                   THE COURT:    I bet a lot of you guys have flights
   5    today and I've asked too many questions.             I do want to hear

   6    from Eli Lilly.

   7                   Would you like to wrap up very briefly?
   8                   MR. MCDONALD:     I would.

   9                   One thing I want to leave the Court with is one of
  10    the things I started with.           At the time of the decision,

  11                                             that -- were prepared to react

  12    to that demand.      And I believe plaintiffs' reply brief
  13    referred to the existence of those doses, but I didn't discern

  14    any sort of response regarding their significance ever in the

  15    briefing.       And I think that absence of any response casts a
  16    long shadow over the rest of plaintiffs' arguments.

  17                   THE COURT:    Okay.

  18                   MR. MCDONALD:     Thanks very much.
  19                   THE COURT:    Well, let me cast my shadow on to

  20    Mr. Hurst -- Ms. Hurst -- what's your name?
  21                   MS. MURPHY:     Murphy.

  22                   THE COURT:    Ms. Murphy.     I'm so sorry, ma'am.       Erin

  23    Murphy.
  24                   MS. MURPHY:     That's correct.

  25                   THE COURT:    Okay.
                                                                                  56
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 56 of 75   PageID 4583




   1                   MS. MURPHY:     No worries at all.
   2                   So, thank you for -- for the opportunity to speak on

   3    behalf of Lilly.      I don't want to rehash a bunch of things

   4    that the Government has already covered, so I'm going to try
   5    and just stick to, you know, a few specific points, some of

   6    the things that Your Honor asked about and a few things that

   7    are --
   8                   THE COURT:    I think if you haven't figured it out,

   9    there's a few salient points that I'm sticking on.
  10                   MS. MURPHY:     Yes.

  11                   THE COURT:    And Mr. Grossman and Mr. McDonald did a

  12    great job, but if you can enlighten me it will be helpful.
  13                   MS. MURPHY:     Yep.   No, and I will --

  14                   THE COURT:    I think you can probably tell what

  15    bothers me.
  16                   MS. MURPHY:     Yep.   And I am happy to talk about a

  17    few record-specific things.

  18                   I do want to make one overarching point at the
  19    outset, which is the nature of the relationship with Lilly's

  20    data here and all of that and this accusation we keep seeing
  21    from plaintiffs of FDA outsourced this, we just provided

  22    whatever we wanted, there was just kind of some of arbitrary

  23    one day we'll give you this, one day we'll give you that.
  24    That is just not borne out by the record.

  25                   If you look at the record, from the very first
                                                                                   57
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 57 of 75   PageID 4584




   1    submission that we made in the record, at page 290 of the
   2    administrative record, the email in which we're providing

   3    information to the Government begins with the words, In

   4    response to your request.          And you see over and over again,
   5    when we are providing data and providing it in a different

   6    format or some additional data, it's because FDA asked us for

   7    it.
   8                   So, take, for instance, table five, the wholesaler

   9    focus data.      That didn't just materialize out of nowhere, one
  10    day we said, Oh, we'll give you this.             FDA asked us.      If you

  11    look at -- particularly, there's a bunch of back and forth.

  12    There was
  13                      , you can find at 422 through 37 of the

  14    administrative record and 459 through 92 of the administrative

  15    record.
  16                   FDA asked us about a dozen questions over the course

  17    of a couple of months.          Many of which are, Can you also supply

  18    this data?      We'd like to know what you know about wholesaler
  19    inventory.      We'd like to know more about what you know about

  20    wholesaler inventory.          We see that you've given us cumulative
  21    on the basis of both drugs, we'd like you to disaggregate it

  22    for the two medicines.          We'd now like you to disaggregate it

  23    by dosage.
  24                   They are the ones who are driving what they want

  25    from us.       And, of course, we are supplying the data.            But this
                                                                                   58
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 58 of 75    PageID 4585




   1    notion that we just kind of gave them whatever we felt like
   2    and they never asked any questions, the reason we have

   3    different types of data in the record is because FDA wanted

   4    different types of data so it could make sure it was looking
   5    at this question through all different angles, looking at

   6    what's happening right now,                                , what does

   7    that look reflect in terms of the trends that we've seen over
   8    the                   ?   Does supply look different now than it

   9    did in                         , when there was a shortage going on?
  10    You know, what is -- what has changed, has it changed over

  11    time?

  12                   Totally reasonable for an agency that's trying to
  13    make a present-day and predictive judgment to say, Well, we

  14    don't just want to look at what's going on today or what's

  15    going on yesterday, we also want to put that in the context of
  16    what's been going on                                so we can look at all

  17    of that.       And I think that really boasts -- gives the lie to

  18    this notion that we're driving the process, and really just
  19    kind of destroys this argument that there's something

  20    arbitrary about the time period here.
  21                   FDA's doing what a rational, reasonable agency would

  22    do when trying to make predictive judgments; which is, say, We

  23    want to look today, and we want to look at today in context to
  24    make sure that what we're getting                                       is

  25    consistent with what we've seen                                  , is
                                                                                     59
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25       Page 59 of 75   PageID 4586




   1    consistent with the way trends have changed over
   2           .

   3                   And as the Government's counsel pointed out, doing

   4    the very reasonable thing of saying, Keep giving us data.                   We
   5    went -- and                                                              , so

   6    that they always are able to look at it and say, We're not

   7    taking your word for it.
   8

   9
  10                                                                 And that is, in

  11    fact, what happened.

  12                   If you look -- in particular I focus -- you know,
  13    you asked about kind of what's -- what's the best evidence in

  14    the record?      I think a good place to start is table one.

  15    That's the focus on the                  stock reports that are
  16    showing where this is -- you know, once the FDA does its

  17    voluntary remand it says, we are taking another look, we want

  18    to make sure we're looking closely at this,
  19

  20
  21                   Okay, maybe it is the case that sometimes, early in,

  22    you know,

  23                                                    .    Let's look at that,
  24    let's see what happens over the course

  25            , and see if you're right when you're telling us, you
                                                                                  60
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25    Page 60 of 75   PageID 4587




   1    know, that had to do with a particular day the snapshot was
   2    taken and                                                    .   We've

   3

   4                               .   They're able to check our work and
   5    say, Okay, what you did actually proved out that you are, in

   6    fact, producing enough to meet this demand.

   7                   So, I think that's a really good place to start.
   8    And just to be clear about something that I think plaintiffs

   9    have kind of sown some confusion about here, that is
  10    absolutely a table that reflects both supply and demand.                 It

  11    is a table that is focused on net inventory balance, net

  12    inventory balance is net of demand.             It's the balance that's
  13    left after we've fulfilled demand and after we've taken into

  14    account open orders at the time.

  15                   So, it is the number -- it is the supply figure that
  16    it bakes in the demand and shows that, yeah, there were a

  17

  18                   But                                                       .
  19    And by the time we get to the                             stock reports

  20    and the              ones,
  21                                                             .

  22                   Now, I do think it's important to take that and

  23    understand the difference between what's in table one and the
  24    cumulative tables two through four.             The cumulative ones are a

  25    little bit different measure.         You have a little bit different
                                                                                   61
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 61 of 75   PageID 4588




   1    numbers because they're -- not because the cumulative tables
   2    aren't using an inventory or supply figure at all.

   3                   But because, as we explained when FDA asked us

   4    exactly this question, why are these numbers a little bit
   5    different, we explained in correspondence, at page 477 of the

   6    administrative record, that it's because

   7
   8                   But as we represented all throughout the proceedings

   9    and FDA said in its decision memo,
  10

  11

  12                    Finished product inventory is often going to be a
  13    little bit bigger than net inventory balance on a given day,

  14    for the reasons we laid out at page 477, that have to do with

  15    when you're doing a snapshot of net inventory balance on a
  16    particular day, you adjust for open orders, things in transit,

  17    a few other dynamics.

  18                   That doesn't mean that the cumulative numbers are --
  19    are somehow not a measure of supply or have absolutely nothing

  20    to do with inventory.          We never said, These have nothing to do
  21    with inventory and these don't reflect real numbers of product

  22    we have.       But there's accounting terminology here and we have

  23    to use it accurately.          And when we're using one phrase here
  24    and one phrase there that's, you know, that's going to be

  25    slightly different and you might get a slightly different
                                                                                 62
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 62 of 75   PageID 4589




   1    number.
   2                   And when it happened, FDA didn't just say, Oh, who

   3    knows, and throw their hands

   4                                                                        .   If
   5    you look at that correspondence I referred to earlier,

   6                                    , that's exactly the type of thing

   7    they're asking about.
   8

   9
  10

  11                   ?   And we're engaging with them.        And all of that,

  12    again, goes back to the point of they are not simply just
  13    saying, Well, Lilly says there's no shortage, so there must

  14    not be a shortage.

  15                   They're asking us for more information, they're
  16    probing us about anything they identify -- they're probing us

  17    about some of the very same things plaintiffs are still

  18    talking about today.       You can't ignore all of the things that
  19    are in the administrative record.           The arbitrary and

  20    capricious standard does not require the agency to answer any
  21    conceivable questions someone might come up with after the

  22    fact in its decision memo.        It requires it to be based on

  23    evidence that's in the record.          And there's evidence in the
  24    record that shows that these types of questions were answered

  25    and dealt with repeatedly throughout the process.
                                                                                     63
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25     Page 63 of 75    PageID 4590




   1                   I do want to say a few words about the
   2           .

   3                      (Court Reporter interrupts)

   4                   MS. MURPHY:     But the                             of the
   5    capacity representation in                   , so, again, as Government

   6    counsel said, this was a representation about the capacity

   7    that Lilly has.      It is not a representation that's wildly off
   8    base from what was being produced in months leading up to it.

   9    We have months that are                               So, it's not like
  10    we've been producing, you know,                        and all of a sudden

  11    we're saying tomorrow we'll produce                   It's very --

  12                   THE COURT:    Slow down just a tad, okay?
  13                   MS. MURPHY:     Sure.

  14                   THE COURT:    I'm not going to put you on the rack and

  15    stretch you until you slow down or speed up, okay?                   You're
  16    not -- you're not in trouble.            You're not -- I want to give

  17    you your time.

  18                   MS. MURPHY:     I'm a Midwesterner and we just kind of
  19    talk fast unintentionally.

  20                   THE COURT:    That's fine.        My brain is slow to
  21    process.

  22                   MS. MURPHY:     So -- but, you know, we -- when we were

  23    focusing on that figure, its not something that's radically
  24    different from what we've been doing in the past.                   It's pretty

  25    close to what had been manufactured.
                                                                                     64
Case 4:24-cv-00953-P    Document 152       Filed 05/01/25   Page 64 of 75   PageID 4591




   1                   It is something, also as Government counsel pointed
   2    out,

   3

   4
   5

   6                                                                              ?

   7                   And, in fact, they have found the opposite.              That
   8    we,

   9
  10                                   .     And so, they have a

  11

  12
  13                                   .

  14                   And then on top of that, FDA says, We're going to

  15    keep monitoring all of this                                    going forward.
  16    So, if it turns out we're saying we can produce this much and

  17    we're radically wrong, and you have some other -- you know,

  18    some numbers that don't prove out, they're going to be there
  19    to be able to step in.         And to this day, we're giving them the

  20    data.   And if they, you know, reach a point where they have a
  21    concern, they'll be able to act on it.               But at this point,

  22    it's completely reasonable of the agency to say, We have a

  23
  24                                                         .

  25                   I would also note that a significant part of the
                                                                                    65
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 65 of 75    PageID 4592




   1    argument that they're making about the                            comes back
   2    to the same flaw that kind of pervades a lot of the arguments

   3    they're making; which is, they keep ignoring the surplus that

   4    carries over from month to month.             So, we don't have to
   5    produce all of the supply to meet demand in a given month,

   6    because the whole point that we're showing across all these

   7    different types of data, and the cumulative in particular, but
   8    also the net inventory balances in table one, is that there is

   9
  10                           .   So, when you look at supply, you have to

  11    think about both supply capacity and existing supply.

  12                   Now, that goes to the question Your Honor asked
  13    about kind of like the shelf-life question.               Now, you know, if

  14    you're asking me to somewhere in the record I can show you

  15    that says what we have said in our briefs, which is there's a
  16    two-year shelf life for these products, I'm not sure there's

  17    somewhere that actually, you know, specifically came up of

  18    tell us the shelf life.          But the representations that we're
  19    making when we provide the Government -- the FDA with data

  20    here, are not just here's, you know, in the abstract some --
  21    some product we have.          It is representations about product

  22    that is available to be shipped.

  23                   We're not going to count product as available to
  24    serve demand if it's not product that's actually able to serve

  25    demand.    We're not sending out expired products that are not
                                                                                  66
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 66 of 75   PageID 4593




   1    something that can still be used to serve demand.
   2                   So, the FDA, quite reasonably, understood that when

   3    we're giving them figures about what we have in inventory that

   4    can serve demand, of course we're talking about inventory
   5    that's viable inventory that can actually be sent out to serve

   6    demand, and we are explaining what carries over in a given

   7    month and all of that.
   8                   So, again --

   9                   THE COURT:     One of the big complaints that plaintiff
  10    has is that -- it's easy to say, Well, we relied on charts or

  11    whatever.      But they contend that in this case that not enough

  12    was put on the record to -- big 10,000-foot overview versus
  13    putting everything that FDA relied on in the decision and

  14    listing it or pointing it out in the actual decision that they

  15    made in this case.
  16                   Do you have a case that says they don't essentially

  17    have to put everything and the kitchen sink in for the

  18    decision not to be arbitrary and capricious?              I'm sure there
  19    has to be, that seems like a general proposition of law.

  20                   MS. MURPHY:     I'm sorry I don't have a case at hand.
  21    Because, to me, that's just sort of like the point of the

  22    arbitrary and capricious standard is you have to say enough so

  23    that people understand what you're doing, but you don't have
  24    to answer every conceivable question someone might later look

  25    at the evidence and say, Well, what about this, what about
                                                                                   67
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 67 of 75   PageID 4594




   1    that, what about this, what about that?              Especially in the
   2    context, as Government counsel reminded, that this is

   3    something -- you know, there's a statutory mandate to keep

   4    this up to date.      You can't sit around writing the decision
   5    memo for five months.          You've got to take what you got and

   6    work with it.

   7                   And what they did is entirely reasonable.            With each
   8    table they explained, here's what this data was, here's what

   9    it showed, and here's why that supports our ultimate
  10    conclusion.      And they explained each type of data supports it

  11    for a little bit different reasons.

  12                   And that's why, you know, I do think going back to
  13    that table one is kind of a really useful way to see how

  14    they're showing, you know, if you might be worried about

  15    high-level numbers, we've got some low-level numbers, too.
  16                   And I also would just take issue with this notion

  17    they didn't show a lot of their work here.              I mean, they did.

  18    They -- they addressed a lot of these issues.               A lot of the
  19    things that plaintiffs accuse FDA of not addressing, FDA did

  20    address in their decision memo.            They spent five pages talking
  21    about demand for compounded products and the extent to which

  22    demand for compounded products would translate into demand for

  23    Lilly's drugs.      And they ultimately assumed that even though
  24    there was evidence that it wouldn't translate, they assumed

  25    that most of it would, and said, Even if it would (sic), we're
                                                                                  68
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25   Page 68 of 75   PageID 4595




   1    comfortable about the supply here.
   2                   And then on that very same page of the decision

   3    memo, when FDA ultimately reaches that conclusion, We feel

   4    comfortable about supply, they close out their discussion by
   5    saying, We're going to keep request -- we're going to keep

   6    monitoring this                                           so that if it

   7    turns out we were mistaken about just how much demand would
   8    increase as the compounding products are taken off the market,

   9    we'll be able to see that.
  10                   THE COURT:    Okay.   I know this is a stupid question.

  11    I assume that that's continuing to be done at the moment, and

  12    FDA continues to stand by their decision as of April the 24th,
  13    that there continues to be a surplus rather than a shortage;

  14    is that fair to say?

  15                   MS. MURPHY:     I think that's --
  16                   THE COURT:    Or my FDA counsel?

  17                   MR. MCDONALD:     That's accurate, Your Honor.

  18                   THE COURT:    Okay.   All right.
  19                   I think I'm good to go.

  20                   MS. MURPHY:     I just wanted to make sure.        I thought
  21    there was one other question you might have asked that I

  22    wanted to make sure I addressed.

  23                   THE COURT:    I would like to give Mr. Grossman, since
  24    he's taken on two attorneys here, a final chance to say

  25    something.
                                                                                   69
Case 4:24-cv-00953-P    Document 152    Filed 05/01/25    Page 69 of 75   PageID 4596




   1                   MS. MURPHY:     Could I make one last just final point
   2    on one thing you had said was bothering you --

   3                   THE COURT:    Certainly.

   4                   MS. MURPHY:     -- which is the rulemaking issue.
   5                   THE COURT:    Yep.

   6                   MS. MURPHY:     And I would simply say, while I

   7    absolutely stand by everything FDA said about why this is not
   8    rulemaking.      I would also say, it should bother you a little

   9    bit less, given that they did, in fact, have notice and
  10    opportunity to comment and provide all sorts of material of

  11    their own to FDA here.

  12                   They could have provided hard data about
  13    compounding.      They are compounders.          They chose not to because

  14    they didn't want to share all of their own information about

  15    exactly what market they are supplying.              So, this is really
  16    the last case in which you should be kind of having a lot of

  17    sympathy for them, in particular, as the party that's before

  18    Your Honor saying they wished they had had more notice and
  19    opportunity to participate.

  20                   THE COURT:    Thank you, ma'am.
  21                   Mr. Grossman, I'll give you the last word.

  22                   MR. GROSSMAN:     Thank you, Your Honor.

  23                   There are only three points I wanted to make in
  24    response.       The first is my friend representing the FDA started

  25    off his discussion by reciting the statutory standard that
                                                                                 70
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 70 of 75   PageID 4597




   1    appears at the very top of the decision about demand exceeding
   2    supply over a time period, and then proceeded to talk about

   3    all kinds of other things that are in the record that don't

   4    actually measure up to those three elements that he started
   5    off with.

   6                   In that sense, his discussion does match what is in

   7    the decision, and so I guess that's consistent at least.               But
   8    at the same time, I think it only underscores the

   9    arbitrariness of what the agency did here, that it sort of --
  10    you can't exactly figure out what metric or standard or

  11    approach the agency was taking.          It just considered a whole

  12    lot of stuff and decided, We kind of know it when we see it.
  13    But that's not the standard that my friend began with, and

  14    it's not the standard that the statute begins with or that the

  15    decision does.
  16                   Second, the Court has asked several questions.

  17    Everybody has had a chance to answer the question about the

  18                                                               I think
  19    there's a clarification that is needed here.             So, that figure

  20    comes from a                                                          Both
  21    of my friends represented that that represents Lilly's

  22    capacity and not what Lilly is, in fact, doing; that is

  23    incorrect.
  24                   The letter from Lilly says that Lilly

  25
                                                                                   71
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 71 of 75   PageID 4598




   1                                              This is at plaintiffs'
   2    appendix page 116.      That -- as I said, that letter was on

   3                                   In the month of

   4
   5                                                            .   So, that's a

   6    little bit less, I would say, than                                    .

   7                   And then third and finally, the Court has asked a
   8    number of questions, and I think appropriately so, about the

   9    meaning of the aggregate supply data and how that corresponds,
  10    if it corresponds in any way, to the inventory that is

  11    available to satisfy customer demand.             My friend representing

  12    the FDA referred to that figure as representing stored
  13    surplus.       I believe the decision refers to it similarly.

  14    Lilly in its briefing has referred to that figure as

  15    representing surplus.
  16                   But I want to read to you -- this is from

  17    plaintiffs' appendix page 122, and this is, again, from the

  18    same letter from Lilly.         It says,
  19

  20                                                                                .
  21    And then it goes on to explain all the different things that

  22

  23                                        .
  24

  25
                                                                                   72
Case 4:24-cv-00953-P    Document 152     Filed 05/01/25   Page 72 of 75   PageID 4599




   1                   Those are the only points that I wanted to address.
   2    Of course, I'm happy to answer any questions the Court might

   3    have.    Otherwise, we would simply ask the Court to grant the

   4    plaintiffs' motion and to deny the others.              And to thank the
   5    Court for its time today.

   6                   THE COURT:   If I grant summary judgment on your

   7    third claim, does that take care of the case?               Do you win on
   8    everything?

   9                   MR. GROSSMAN:      Yes, Your Honor.
  10                   We think that the way that the claims have been laid

  11    out, if the Court -- that any of them would provide an

  12    appropriate basis for vacatur -- for vacatur of the action
  13    here.    And so, the Court need not address other -- other

  14    claims if it doesn't feel the need to reach them.

  15                   THE COURT:   Okay.     I think I don't have any
  16    additional questions.          I appreciate everyone's arguments here

  17    today.    And you guys were very diligent, even though I gave

  18    you some extra time, I thought you did a great job laying it
  19    out very succinctly.

  20                   I will say, though, I am not smart enough to make a
  21    decision on this until I get the transcript.               So, I would like

  22    to go and study your arguments more, some of the statements

  23    you guys made today, and then went back and tying them to the
  24    brief and also the administrative record.

  25                   I do not think that I will take long to make a
                                                                                 73
Case 4:24-cv-00953-P    Document 152   Filed 05/01/25   Page 73 of 75   PageID 4600




   1    decision, but, then again, I want to be sure that I do the
   2    best job.       And as I said, I understand, one way or another, it

   3    will go on to the next court, so I want to try to give them as

   4    much of my reasoning as possible.           And like I said, I'm just
   5    trying to do my best here, and I really don't care if I get

   6    reversed.

   7                   But I do want to see the transcript.        But I do
   8    understand also that time is of the essence and you-all want a

   9    decision.       But as soon as we get that transcript -- another
  10    thing I would ask from you, I dropped a footnote in the

  11    previous decision, I do take it seriously.             I don't want to be

  12    -- honestly, don't want to be criticized for trying to close
  13    public hearings.      I really feel strongly about that.

  14                   So, you should expect that once Monica is able to

  15    give us the transcript that you'll -- if you can get together
  16    in three days and give me your proposed redactions, I would

  17    like to get it out there.        We have had several inquiries,

  18    folks that have been calling up here, members of the general
  19    public, as well as members of the media that, I'm assuming,

  20    did want to attend the hearing today.           And I'd like to get the
  21    transcript out there as quickly as possible, okay?              But we

  22    need to did get that to you.         And I know Monica will work

  23    diligently to do that.
  24                   Unless you-all have any more questions for me, I'm

  25    prepared to go off the record, okay?            No?   (No response)
                                                                                74
Case 4:24-cv-00953-P   Document 152   Filed 05/01/25   Page 74 of 75   PageID 4601




   1                     (Proceedings Adjourned)
   2

   3

   4
   5

   6

   7
   8

   9
  10

  11

  12
  13

  14

  15
  16

  17

  18
  19

  20
  21

  22

  23
  24

  25
                                                                                  75
Case 4:24-cv-00953-P   Document 152     Filed 05/01/25   Page 75 of 75   PageID 4602




   1                           REPORTER'S CERTIFICATE

   2

   3          I, Monica Willenburg Guzman, CSR, RPR, certify

   4    that the foregoing is a true and correct transcript from
   5    the record of proceedings in the foregoing entitled matter.

   6          I further certify that the transcript fees format

   7    comply with those prescribed by the Court and the Judicial
   8    Conference of the United States.

   9          Signed this 28th day of April, 2025.
  10

  11                                  /s/Monica Willenburg Guzman
                                      Monica Willenburg Guzman, CSR, RPR
  12                                  Texas CSR No. 3386
                                      NCRA No. 32278
  13                                  Official Court Reporter
                                      The Northern District of Texas
  14                                  Fort Worth Division

  15
  16    CSR Expires:           7/31/2025

  17    Business Address:      501 W. 10th Street, Room 310
                               Fort Worth, Texas 76102
  18
        Telephone:             817.850.6681
  19
        E-Mail Address:        mguzman.csr@yahoo.com
  20
  21

  22

  23
  24

  25
